     Case 1:18-cr-00091-DAD-SKO Document 49 Filed 10/02/19 Page 1 of 1


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 8                              IN THE UNITED STATES DISTRICT COURT
 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10    UNITED STATES OF AMERICA,                )             Case №: 1:18-cr-00091-LJO
                                               )
11                     Plaintiff,              )
                                               )
12           vs.                               )                  ORDER
                                               )         WITHDRAWING THE FEDERAL
13    ALEJANDRO LEMUS,                         )           DEFENDER AS COUNSEL,
                                               )       APPOINTING AD HOC CJA COUNSEL
14                     Defendant.              )
                                               )
15
             Upon Defendant’s motion and consent, good cause appearing, and for consistency of
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     representation,
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            IT IS HEREBY ORDERED, effective October 1, 2019, withdrawing the Federal
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     Defender as counsel and appointing Victor M. Chavez as ad hoc CJA counsel pursuant to 18
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     U.S.C. § 3006A(b) and Eastern District of California’s CJA Plan, Gen. Ord. 582, § X(C).
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     IT IS SO ORDERED.
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22      Dated:     October 1, 2019                        /s/ Lawrence J. O’Neill _____
                                                   UNITED STATES CHIEF DISTRICT JUDGE
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                                                     1 [Proposed] Order Withdrawing Federal Defender-
                                                                      Appointing Ad Hoc CJA Counsel
